                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                           5:03CV85-02-V
                           (5:01CR5-19-V)


STACEY LERELL NEWMONES,       )
     Petitioner,              )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court on the petitioner’s “Motion

To Vacate, Set Aside, Or Correct Sentence” under 28 U.S.C. §2255,

filed June 4, 2003; on the “Government’s Response To Petitioner’s

Motion And Motion For Summary Judgment,” filed August 11, 2003;

on the petitioner’s “Motion For Reconsideration [of the denial of

his Motion for Counsel] Due To Exceptional Circumstances,” filed

July 21, 2003; on the “Petitioner’s Motion For Reconsideration”

of the denial of his Motion to Amend, filed January 12, 2004; and

on a document captioned as “Petitioner Pleads That The Court Take

Immediate Action Due To Booker’s Confirmation Of Blakely In That

Petitioner’s Pleadings Were Pre-Booker,” filed July 22, 2005.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on March

13, 2001, a single-count Bill of Indictment was filed, naming the

petitioner and 23 other individuals as defendants.           Such Indict-




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ment charged the petitioner and his co-defendants with conspiring

to possess with intent to distribute 50 grams or more of cocaine

base and 5 kilograms or more of powder cocaine, all in violation

of 21 U.S.C. §§841(a)(1) and 846.       The Indictment also noted that

on February 3, 1998, the petitioner had been convicted by the

State of North Carolina of two felony drug offenses.            Thereafter,

on April 23, 2001, the government filed an Information pursuant

to 21 U.S.C. §851, formally listing the petitioner’s two 1998

felony convictions as one for possession of a controlled

substance, and one for possession with intent to sell and deliver

marijuana.

     Next, on December 26, 2001, the petitioner entered into a

written Plea Agreement with the government.         By the terms of that

Agreement, the petitioner agreed to plead guilty to the conspira-

cy charge set forth in the Indictment.        In addition, the

petitioner stipulated that he could be held accountable for his

involvement with more than 1.5 kilograms of crack cocaine; and

that there was an adequate factual basis to support his guilty

plea.   Under the terms of his Agreement, the petitioner also

waived his right to directly appeal his conviction or sentence;

and he waived his right to collaterally challenge his case in a

proceeding such as this one on any grounds other than ineffective

assistance of counsel or prosecutorial misconduct.

     On January 7, 2002, the Court conducted a Plea & Rule 11


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Hearing, during which the undersigned engaged the petitioner in a

lengthy colloquy to ensure that his guilty plea was being

intelligently and voluntarily tendered.        After considering the

petitioner’s responses to the Court’s numerous questions, the

Court found that the petitioner’s guilty plea was knowingly and

voluntarily tendered, and it accepted the plea.

     On June 12, 2002, the Court conducted a Factual Basis &

Sentencing Hearing in this matter.      Upon its review of the

petitioner’s Pre-Sentence Report, the Court concluded that the

petitioner had only one qualifying prior felony drug conviction

(the one for possession with intent to sell and deliver mari-

juana) for which his federal sentence could be enhanced.

Therefore, the Court concluded that the petitioner’s statutory

maximum term was “20 years to life, not mandatory life” impri-

sonment.    Ultimately, after hearing from the parties, the Court

sentenced the petitioner to a term of 240 months imprisonment.

     The petitioner did not directly appeal his conviction or

sentence.   Rather, on June 4, 2003, the petitioner filed the

instant Motion to Vacate, alleging that he was subjected to three

separate instances of ineffective assistance of counsel.

     More particularly, the petitioner alleges that counsel was

ineffective because he knew or should have known that the

petitioner had not been convicted of any offenses which occurred

on February 3, 1998 and, at any rate, such prior convictions “did


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not meet the threshold requirement of Sec. 851”              The petitioner

also alleges that counsel was ineffective for having forfeited

the petitioner’s due process right “to ensure that the form of

cocaine base was in fact ‘crack cocaine.’” Last, the petitioner

alleges that counsel was ineffective because he knew or should

have known that the petitioner’s prior cocaine conviction was a

misdemeanor and not a felony upon which his sentence could have

been enhanced.

     Now, having carefully reviewed the matters before it, the

Court finds that the petitioner has failed to forecast any facts

which could raise a genuine issue of material fact concerning the

propriety of his conviction and sentence; and that the government

is entitled to a judgment as a matter of law.          Accordingly, the

government’s Motion for Summary Judgment will be granted, and the

petitioner’s Motion to Vacate will be denied and dismissed.

                             II.   ANALYSIS

           1.   The petitioner’s claims that coun-
                sel was ineffective is feckless.

     With respect to allegations of ineffective assistance of

counsel, a petitioner must show that counsel's performance was

constitutionally deficient to the extent it fell below an

objective standard of reasonableness, and that he was prejudiced

thereby.   Strickland v. Washington, 466 U.S. 668, 687-91 (1984).

In making this determination, there is a strong presumption that

counsel's conduct was within the wide range of reasonable

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professional assistance. Id. at 689; see also Fields v. Attorney

Gen. of Md., 956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474

U.S. 865 (1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31

(4th Cir. 1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo

v. Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

     Furthermore, in considering the prejudice prong of the

analysis, the Court must not grant relief solely because the

petitioner can show that, but for counsel’s performance, the

outcome of the proceeding would have been different.              Sexton v.

French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S.

855 (1999).    Rather, the Court “can only grant relief under . . .

Strickland if the ‘result of the proceeding was fundamentally

unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506

U.S. 364, 369 (1993).        Under these circumstances, the petitioner

“bears the burden of proving Strickland prejudice.”              Fields, 956

F.2d at 1297, citing Hutchins, 724 F.2d at 1430-31.              If the peti-

tioner fails to meet this burden, a “reviewing court need not

consider the performance prong.”          Fields, 956 F.2d at 1290,

citing Strickland, 466 U.S. at 697.

     More critically, a petitioner who alleges ineffective assi-

stance of counsel following the entry of a guilty plea has an

even higher burden to meet.        See Hill v. Lockhart, 474 U.S. at

53-59; Fields, 956 F.2d at 1294-99; and Hooper v. Garraghty, 845


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F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S. 843 (1988).                 The

Fourth Circuit described the petitioner’s additional burden in a

post-guilty plea claim of ineffective assistance of counsel as

follows:

           When a [petitioner] challenges a conviction
           entered after a guilty plea, [the] “prejudice
           prong of the [Strickland] test is slightly
           modified. Such a defendant must show that
           there is a reasonable probability that, but
           for counsel’s errors, he would not have
           pleaded guilty and would have insisted on
           going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59; and Fields, 956 F.2d at 1297.

     In evaluating post-guilty plea claims of ineffective

assistance, statements previously made under oath affirming

satisfaction with counsel are deemed binding in the absence of

“clear and convincing evidence to the contrary.”             Fields, 956

F.2d at 1299, citing Blackledge v. Allison, 431 U.S. 63, 74-75

(1977).

     At the outset of this analysis, the Court notes that despite

his having filed several multi-page documents, the petitioner has

never asserted that but for counsel’s alleged ineffectiveness, he

would not have pled guilty and would have insisted upon going to

trial.    Such omission is both telling and legally significant in

that it vastly undermines the petitioner’s ability to demonstrate

that he was prejudiced in this case.

     Turning now to the petitioner’s claims that counsel knew or

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should have known that he was not convicted of any felony of-

fenses on February 3, 1998, and that counsel knew or should have

known that the cocaine conviction referenced in the government’s

§851 Notice actually was a misdemeanor offense, such allegations

are unavailing.     That is, both the Indictment in which the

petitioner was charged and the government’s §851 Notice report

the February 3, 1998 date as the date of conviction, not the date

of commission for the subject prior offenses.1            Therefore, the

factual predicate of this claim is erroneous.

      Nor can the petitioner prevail on his nonsensical allegation

that the government’s Notice failed to “meet the threshold

requirement of Sec. 851" because §841(b)(1)(A) only applies to a

single violation involving 50 or more grams of crack as opposed

to multiple violations which together involve 50 or more grams of

crack.    Indeed, as the record clearly demonstrates, the petition-

er stipulated that he could be held accountable for involvement

with more than 1.5 kilograms of crack as a result of role in the

conspiracy offense.

      Furthermore, §851 does not mandate that the prior qualifying


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       A review of the record does reflect a reference by the Court to the
petitioner’s P/W/I/S/D marijuana conviction as having “occurred on 2/3/98.”
However, the petitioner could not possibly have been prejudiced by such stray
remark since it was made during his Sentencing Hearing at the conclusion of
his case and in connection with the Court’s finding that the petitioner’s
sentence was subject to enhancement for only one of his two prior convictions.
Moreover, inasmuch as the petitioner’s Indictment and the §851 Notice–-both of
which were filed within the first month of the filing of his case--correctly
reflected the February 1998 date as the conviction date for both offenses, the
petitioner received adequate notice of the matter which was used to enhance
his sentence.

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drug felony involve a particular amount or type of drug.             There-

fore, the petitioner’s federal sentence was properly enhanced

under 21 U.S.C. §841(b)(1)(A)(iii) by virtue of his having pled

guilty to conspiring to traffic in more than 1.5 kilograms of

crack after he had previously been convicted of a felony drug

offense.

     Similarly, even assuming that the petitioner is correct that

one of the two prior convictions was a misdemeanor, and not a

felony offense for which his federal conviction could have been

enhanced, such fact is of little significance.          Rather, as the

petitioner concedes in his Traverse, this Court did not use both

prior offenses to enhance the instant federal sentence.             On the

contrary, the Court’s Judgment reflects that the Court calculated

the petitioner’s sentence using only one of his prior convictions

--the prior felony conviction for possession with intent to sell

and deliver marijuana–-as a sentence enhancing factor.

     Critically, the petitioner does not dispute the fact that

such marijuana conviction was for a felony offense.            Thus, the

petitioner simply cannot show any prejudice on the basis of

counsel’s decision not to argue that the prior cocaine conviction

was a misdemeanor since that conviction ultimately was not used

to enhance his federal sentence.

     The petitioner also is not entitled to any relief on his

other claim that counsel was ineffective for having forfeited the


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petitioner’s right to ensure that the form of cocaine base with

which he dealt was crack cocaine.       Although it was an open

question at one time, by the time that the petitioner was facing

this prosecution, the Fourth Circuit already had put to rest any

notion that there was a legal distinction between cocaine base

and crack.

     That is, the Fourth Circuit has squarely held that cocaine

base includes what is commonly referred to as crack.             United

States v. Perkins, 108 F.3d 512, 518 (4th Cir. 1997); United

States v. Pinto, 905 F.2d 47, 49 (4th Cir. 1990).            Therefore, the

petitioner could not have been prejudiced by counsel’s decision

not to raise a “cocaine base vs. crack” issue since the control-

ling precedent would have precluded the Court from granting any

relief on such an argument.

     Moreover, the Court has reviewed the additional matters

which the petitioner sets forth in his Traverse, including his

argument that defense counsel should have raised a double

jeopardy defense to this prosecution since the petitioner pre-

viously had paid to the State of North Carolina a portion of a

civil controlled substance tax for the same drugs which formed

the basis of the federal prosecution.       However, because it is

well settled that not even prosecutions by two separate

sovereigns for the same conduct would offend the Double Jeopardy

Clause, a federal prosecution that followed the imposition of a


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State civil fine could not possibly have violated the Fifth

Amendment.   See Heath v. Alabama, 474 U.S. 82, 88 (1985); and

Abbate v. United States, 359 U.S. 187 (1959).         Therefore, counsel

simply was not ineffective for not raising this defense.

     Likewise, the petitioner’s reference to Edwards v. United

States, 523 U.S. 511 (1998) in his Traverse as a basis for

challenging his sentence is misplaced.       To be sure, Edwards dealt

with a trial in which the jury was given a general verdict form

to report its finding of guilt or innocence on a conspiracy

charge involving both powder cocaine and cocaine base.            Here,

however, the petitioner pled guilty, and stipulated to his

involvement with cocaine base, that is, crack cocaine.            There-

fore, the Court properly sentenced the petitioner on the basis of

for his having dealt with the more severely punished substance.

          2.   The petitioner’s non-dispositive Motions
               also must be rejected.

     On July 21, 2003, the petitioner filed a Motion for

Reconsideration, seeking review of the Court’s denial of his

request to have counsel appointed in this case, and on January

12, 2004, he filed one seeking review of the Court’s denial of

his request to amend his Motion to Vacate.

     In support of his request that the Court revisit its

decision regarding the appointment of counsel, the petitioner

argues the existence of exceptional circumstances by virtue of

his “colorable” allegations that he did not deal with “crack,”

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and that the §851 enhancement was inappropriate.            However, the

Court finds that the petitioner’s claims are not colorable, nor

are they so novel or difficult as to give rise to a presumption

that he would need assistance in presenting them.            Therefore, the

Court’ will not disturb its earlier decision concerning the ap-

pointment of counsel.

     Likewise, the petitioner’s request that the Court review its

denial of his Motion to Amend also is unavailing inasmuch as it

essentially is predicated upon a change in State law, not a

change in federal law which can be retroactively applied in a

collateral proceeding.      Thus, this Motion for Reconsideration

shall be denied.

     Finally, on July 22, 2005, the petitioner filed a document

captioned as “Petitioner Pleads That The Court Take Immediate

Action Due To Booker’s Confirmation Of Blakely In That Peti-

tioner’s Pleadings Were Pre-Booker.”       Notwithstanding its bizarre

caption, such document appears to be little more than an attempt

by the petitioner to raise a new claim for relief based upon the

recent U.S. Supreme Court rulings in Blakely v. Washington, 542

U.S. 296 (2004) and United States v. Booker/Fanfan, 125 S.Ct. 738

(2005).

     However, inasmuch as neither of those cases has been made

retroactively applicable to collateral challenges, the petitioner

cannot rely upon those cases in this proceeding.            More signifi-


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cantly, the petitioner’s sentence enhancement would not violate

the foregoing cases, in any event, because those rulings do no

forbid sentence enhancements which are predicated upon a

defendant’s prior convictions.      Therefore, this de facto motion

to amend also will be denied.

                            III.   CONCLUSION

     The Court has conducted a careful review of the foregoing

Motions, along with the record of this matter and determined that

the petitioner has failed to forecast any evidence which can

support his claims for relief.      Similarly, the petitioner’s at-

tempts to obtain appointed counsel and to press additional claims

are not supported in law or fact.          Therefore, the petitioner’s

various Motions all must be denied.

                               IV. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the petitioner’s Motions for Reconsideration

(documents ## 5 and 11) are DENIED;

     2.   That the petitioner’s de facto motion to amend (document

# 12) is DENIED;

     3.   That the government’s Motion for Summary Judgment is

GRANTED; and

     2.   That the petitioner’s’ Motion to Vacate is DENIED and

DISMISSED.

     SO ORDERED.

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                    Signed: August 19, 2005




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